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                        Exhibit 1
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                         Exhibit 2
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                         Exhibit 3
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                         Exhibit 4
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                         Exhibit 5
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                                                                                                       Closed


                                  U.S. Bankruptcy Court
                         Southern District of California (San Diego)
                           Bankruptcy Petition #: 13-01660-LT13
                                                                          Date filed: 02/21/2013
Assigned to: Chief Judge Laura S. Taylor                            Date terminated: 05/23/2013
Chapter 13                                                         Debtor dismissed: 05/03/2013
                                                                       341 meeting: 03/29/2013
Voluntary
Asset


Debtor disposition: Dismissed for Other Reason

Debtor                                                      represented by Julio Werner Mayen
Julio Werner Mayen                                                         PRO SE
15335 Castle Peak Lane
Jamul, CA 91935
SAN DIEGO-CA
619-669-9904
SSN / ITIN: xxx-xx-5487
Tax ID / EIN: XX-XXXXXXX

Trustee
David L. Skelton
525 B St., Suite 1430
San Diego, CA 92101-4507
619-338-4006

United States Trustee
United States Trustee
Office of the U.S. Trustee
402 West Broadway, Suite 600
San Diego, CA 92101-8511
619-557-5013


   Filing Date               #                                          Docket Text

                             1                 Chapter 13 Voluntary Petition, Schedules & Statements Fee
                             (9 pgs; 3 docs)   Amount $ 281.00. Schedules A-J due 3/7/2013. State. of Fin.
                                               Affairs due 3/7/2013. Summary of schedules due 3/7/2013.
                                               Statistical Summary of Certain Liabilities due 3/7/2013. Chapter
                                               13 Plan due 3/7/2013.Statement of Current Monthly Income and
                                               Disposable Income Form 22C: 3/7/2013. Incomplete Filings due
                                               by 3/7/2013, Filed by Julio Werner Mayen. (Duneghy, J.)
                                               Additional attachment(s) added on 2/21/2013 (Duneghy, J.).
 02/21/2013                                    (Entered: 02/21/2013)




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 02/21/2013                 2                 Meeting of Creditors & Notice of Appointment of Trustee
                            (7 pgs; 4 docs)   David L. Skelton and Notice Regarding Interpreters. 341(a)
                                              meeting to be held on 03/29/2013 at 09:00 AM at 402 W.
                                              Broadway, Emerald Plaza Building, Suite 660 (B), Hearing
                                              Room B, San Diego, CA 92101 (Ch13),. Complaint to
                                              determine dischargeability of certain debts deadline:
                                              05/28/2013. Proof of Claim due by 06/27/2013. (Duneghy, J.)
                                              (Entered: 02/21/2013)

                            3                 Request for Waiver of Diskette Requirement filed by Julio
 02/21/2013                 (1 pg)            Werner Mayen (Duneghy, J.) (Entered: 02/21/2013)

                            4                 Receipt of Statement of Social Security Number COURT
                                              NOTE: The PDF document is a secured image. filed by Julio
 02/21/2013                                   Werner Mayen . (Duneghy, J.) (Entered: 02/21/2013)

                            5                 Declaration Re: Filing of Petition, Schedules & Statements on
                            (1 pg)            Diskette filed by Julio Werner Mayen . (Duneghy, J.) (Entered:
 02/21/2013                                   02/21/2013)

                            6                 Certificate of Credit Counseling for Debtor filed by Julio
 02/21/2013                 (1 pg)            Werner Mayen . (Duneghy, J.) (Entered: 02/21/2013)

                            7                 Receipt of Chapter 13 Filing Fee - $281.00 by JD. Receipt
 02/21/2013                                   Number 221330. (Admin.) (Entered: 02/21/2013)

                            8                 Court Certificate of Mailing re Notice Debtor(s) not represented
                            (4 pgs)           by an Attorney - BNC (related documents 2 Meeting of
                                              Creditors) Notice Date 02/23/2013. (Admin.) (Entered:
 02/21/2013                                   02/23/2013)

                            9                 Court Certificate of Mailing re Notice of Incomplete Schedules
                            (4 pgs)           Due- BNC (related documents 1 Chapter 13 Voluntary Petition)
 02/21/2013                                   Notice Date 02/23/2013. (Admin.) (Entered: 02/23/2013)

                            10                Court Certificate of Mailing with Service by BNC. (related
                            (5 pgs)           documents 2 Meeting of Creditors) Notice Date 02/23/2013.
 02/21/2013                                   (Admin.) (Entered: 02/23/2013)

                            11                Motion to Extend Time to file schedules filed by Julio Werner
                            (2 pgs; 2 docs)   Mayen (Attachments: # 1 Certificate of Service) (Beckett-
 03/05/2013                                   Brown, C.) (Entered: 03/06/2013)

                            12                Trustee's Response to Motion for Extension of Time to File
                            (1 pg)            Remaining Documents filed by David L. Skelton 2 on behalf of
                                              David L. Skelton. (related documents 11 Motion to Extend
 03/07/2013                                   Time) (Skelton 2, David) (Entered: 03/07/2013)

                            13                Order Regarding Motion to Extend Time (granting partial
                            (3 pgs; 2 docs)   relief); with Service by BNC (Related Doc # 11) signed on
                                              3/8/2013. Incomplete Filings due by 3/21/2013, (Beckett-
 03/08/2013                                   Brown, C.) (Entered: 03/11/2013)




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 03/11/2013                 14                Court Certificate of Mailing with Service by BNC. (related
                            (4 pgs)           documents 13 Order re: Motion to Extend Time) Notice Date
                                              03/13/2013. (Admin.) (Entered: 03/13/2013)

                            15                Initial Chapter 13 Plan filed by Julio Werner Mayen . (related
                            (6 pgs; 2 docs)   documents 1 Chapter 13 Voluntary Petition)(Beckett-Brown,
 03/21/2013                                   C.) (Entered: 03/22/2013)

                            16                Chapter 13 Statement of Current Monthly and Disposable
                            (8 pgs)           Income (related documents 1 Chapter 13 Voluntary Petition)
                                              filed by Julio Werner Mayen . (Beckett-Brown, C.) (Entered:
 03/21/2013                                   03/22/2013)

                            17                Balance of Schedules: Schedules A-J , Statement of Financial
                            (32 pgs)          Affairs, Summary of Schedules, Statistical Summary of Certain
                                              Liabilities, Statment of Current Monthly Income, Chapter 13
                                              Plan, with Certificate of Service (related documents 1 Chapter
                                              13 Voluntary Petition, 13 Order re: Motion to Extend Time)
                                              filed by Julio Werner Mayen . (Beckett-Brown, C.) (Entered:
 03/21/2013                                   03/22/2013)

                            18                Court Certificate of Mailing with Service by BNC. (related
                            (7 pgs)           documents 15 Chapter 13 Plan) Notice Date 03/24/2013.
 03/22/2013                                   (Admin.) (Entered: 03/24/2013)

                            19                Objection to Confirmation of Chapter 13 Plan and Request for
                                              Hearing. Meeting of Creditors Held and Concluded Debtor
 04/02/2013                                   appeared. (Skelton, David) (Entered: 04/02/2013)

                            20                Objection to Confirmation of Chapter 13 Plan and Motion to
                            (5 pgs; 2 docs)   Dismiss Case. Filed by David L. Skelton on behalf of David L
                                              Skelton (Skelton, David) (related document 15 Chapter 13
 04/03/2013                                   Plan )(Entered: 04/03/2013) (Entered: 04/03/2013)

                            21                Notice of Hearing on Objection to Confirmation of Chapter 13
                            (2 pgs; 2 docs)   Plan and Motion to Dismiss. Filed by David L. Skelton on
                                              behalf of David L. Skelton Scheduled for 05/07/2013 at
                                              10:00AM at Courtroom 3, Room 129 Jacob Weinberger U.S.
                                              Courthouse (related document 20 Objection to Confirmation of
                                              Chapter 13 Plan and Motion to Dismiss Case ) (David L.
 04/03/2013                                   Skelton) (Entered: 04/03/2013) (Entered: 04/03/2013)

                            22                Court Certificate of Mailing with Service by BNC. (related
                            (6 pgs)           documents 20 Objection to Confirmation of Chapter 13 Plan
                                              and Motion to Dismiss Case) Notice Date 04/05/2013. (Admin.)
 04/03/2013                                   (Entered: 04/05/2013)

                            23                Court Certificate of Mailing with Service by BNC. (related
                            (3 pgs)           documents 21 Notice of Hearing on Objection to Confirmation
                                              of Chapter 13/12 Plan) Notice Date 04/05/2013. (Admin.)
 04/03/2013                                   (Entered: 04/05/2013)

 04/08/2013




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                            24                Notice of Requirement to file Financial Management Course
                            (2 pgs; 2 docs)   Certificate. (Admin) (Entered: 04/08/2013)

                            25                Court Certificate of Mailing re Notice of Requirement to File a
                            (3 pgs)           Statement of Completion of Course in Personal Financial
                                              Management- BNC (related documents 24 Notice of
                                              Requirement to file Financial Management Course Certificate)
 04/08/2013                                   Notice Date 04/10/2013. (Admin.) (Entered: 04/10/2013)

                            26                Statement of Case Status filed by David L. Skelton 4 on behalf
 04/29/2013                 (1 pg)            of David L. Skelton. (Skelton 4, David) (Entered: 04/29/2013)

                            27                Request by Debtor for Dismissal of Chapter 13 Bankruptcy
                            (2 pgs; 2 docs)   Case filed by Julio Werner Mayen (Attachments: # 1 Proof of
 05/01/2013                                   Service) (Kelly, H) (Entered: 05/02/2013)

                            28                Order Regarding Request by Debtor for Dismissal of Chapter
                            (4 pgs; 4 docs)   13 Bankruptcy Case as to Debtor Julio Werner Mayen; with
                                              BNC Service. (Related Doc # 27) signed on 5/3/2013. (Kelly,
 05/03/2013                                   H) (Entered: 05/03/2013)

                            29                Court Certificate of Mailing re Notice of Entry of Order
                            (3 pgs)           Dismissing Case and Vacating All Automatic Stays and
                                              Injunctions; with Service by BNC. Notice Date 05/05/2013.
 05/03/2013                                   (Admin.) (Entered: 05/05/2013)

                            30                Court Certificate of Mailing with Service by BNC. (related
                            (3 pgs)           documents 28 Order re: Request by Debtor for Dismissal of
                                              Chapter 13 Bankruptcy Case) Notice Date 05/05/2013.
 05/03/2013                                   (Admin.) (Entered: 05/05/2013)

                            31                Minute Order. Hearing DATE: 05/07/2013, MATTER:
                            (1 pg)            OBJECTION TO CONFIRMATION OF CHAPTER 13 PLAN
                                              AND MOTION TO DISMISS CASE FILED BY TRUSTEE.
                                              DISPOSITION: See Attached PDF document for details.
                                              (vCal Hearing ID (293205)). (related documents 20 Objection
                                              to Confirmation of Chapter 13 Plan and Motion to Dismiss
 05/07/2013                                   Case) (Dahl, S.) (Entered: 05/07/2013)

                            32                Chapter 13 Trustee's Final Report and Account . (Skelton 4,
 05/23/2013                 (3 pgs; 2 docs)   David) (Entered: 05/23/2013)

 05/23/2013                 33                Order Approving Account, Discharging Chapter 13 Trustee and
                                              Closing Estate. It appearing to the Court that, the Chapter 13
                                              Trustee, has performed all duties required in the administration
                                              of this case; the Trustee has made distribution of all funds
                                              coming into his possession as required by order of this Court
                                              and has rendered a full and complete account, and the Trustee
                                              has performed all other duties required of him in the
                                              administration of this case; IT IS ORDERED the accounts of
                                              the Trustee be approved and allowed; the Trustee be discharged
                                              and relieved of his trust; the bond of the Trustee, or blanket
                                              bond be canceled and any sureties be released from further




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                                           liability, except any liability which may have accrued during the
                                           time such bond was in effect; and the case is hereby closed. The
                                           debtor is relieved of any further responsibility for keeping this
                                           Court and the Trustee advised of a current mailing address.
                                           Barry K. Lander, Clerk (Beckett-Brown, C.) (Entered:
                                           05/23/2013)

                            34             Court Certificate of Mailing re Chapter 13 Trustee's Final
                            (4 pgs)        Report and Account; with service- BNC (related documents 32
                                           Chapter 13 Trustee's Final Report and Account) Notice Date
 05/23/2013                                05/25/2013. (Admin.) (Entered: 05/25/2013)




https://ecf.casb.uscourts.gov/cgi-bin/DktRpt.pl?360125270571931-L_1_0-1                           1/23/2017
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                         Exhibit 6
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MSF                                      United States Bankruptcy Court                               Telephone: 619−557−5620
Rev. 01/13                                                                                       Website: www.casb.uscourts.gov
                                              Southern District of California             Hours: 9:00am−4:00pm Monday−Friday
                                               Jacob Weinberger U.S. Courthouse
                                                      325 West F Street
                                                  San Diego, CA 92101−6991

Julio Werner Mayen                                                         Case number: 13−01660−13
 15335 Castle Peak Lane                                                    Chapter: 13
Jamul, CA 91935                                                            Judge
xxx−xx−5487
No Known Aliases



                                         Important Notice To (Attorney For) Debtor
                              Notice of Missing Schedule(s), Statement(s) and/or Chapter 13 Plan


The petition for relief you have filed was missing one or more of the following papers:

Schedules A−J
Statement of Financial Affairs
Summary of Schedules
Statistical Summary of Certain Liabilities and Related Data
Chapter 13 Plan
Statement of Current Monthly Income and Calculation of Commitment Period and Disposable Income
(Chapter 13 debtor(s))


 Failure to file the missing papers within 14 days following the date the petition was filed (30 days for a Chapter 7
Debtor's Statement of Intention, if required), or the date a notice or an order converting was entered, will cause your
case to be dismissed pursuant to 11 U.S.C. §707(a)(3) without further notice.

Please note that Local Bankruptcy Rule 1007−4 and 1009−2 (described below) requires you to serve a copy of any
late−filed schedules, statements, and(or) amendments on any trustee and, if a Chapter 11 case, the United States
Trustee, and any member of the official creditors committee. Local Form CSD 1099, Balance of Schedules and(or)
Chapter 13 Plan, with proof of service must accompany the originals filed with the Court. Compliance with Special
Requirements for Mailing Addresses, (Form CSD 1007), is also required.

Unless you have already done so, you must file with the Court a statement setting forth the amount of fees paid or
promised to you for services rendered in connection with the filing of this case. A Disclosure of Compensation of
Attorney for Debtor, (Form CSD 1009), may be obtained from the Court without cost. This Disclosure Statement must
be filed with the Court before the date scheduled for the Section 341(a) Meeting.


                                                                              Barry K. Lander
 Dated: 2/21/13                                                               Clerk of the Bankruptcy Court
    Case
 Case    13-01660-LT13 Filed Document
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1007−4. REQUIRED NOTICE WHEN SCHEDULES ARE FILED AFTER THE DATE THE PETITION IS
FILED

Before filing with the clerk any lists, statements and(or) schedules that were not filed, the debtor shall:


     1. Serve a copy of these papers on the United States Trustee, any interim trustee, trustee and each member of any
        committee appointed in this case; and


     2. Give notice of the date of filing the petition to any entity who was not named in the original lists, schedules
        and statements filed at the commencement of the case. If applicable, the notice shall be accompanied by:



              1. a copy of the "Order for and Notice of Section 341(a) Meeting"; and


              2. any "Discharge of Debt" or "Notice of Order Confirming Plan"; and


              3. in a chapter 13 case, a claim form and the date, time and location of any pending Section 341(a)
                 meeting or confirmation hearing currently scheduled; and


     3. Attach to the papers filed with the court a proof of service showing compliance with this rule; and


     4. In a chapter 7, 11, or 12 case, when noticing any entity not previously named in the original mailing matrix,
        comply with Local Bankruptcy Rule 1007−1.



1009−2. AMENDMENT; NOTICE.

Any amendment filed shall substantially conform to Local Form CSD 1100, AMENDMENT. Service shall be made
in the manner required by Local Bankruptcy Rule 1007−4 and shall substantially conform to Local Form CSD 1101,
NOTICE TO CREDITORS OF THE ABOVE−NAMED DEBTOR ADDED BY AMENDMENT.



Forms may be obtained at the Courthouse or from the Court's website: www.casb.uscourts.gov
   Case
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                                                 Notice Recipients
District/Off: 0974−3                    User: jduneghy                    Date Created: 2/21/2013
Case: 13−01660−13                       Form ID: 184                      Total: 1


Recipients submitted to the BNC (Bankruptcy Noticing Center):
db          Julio Werner Mayen      15335 Castle Peak Lane      Jamul, CA 91935
                                                                                                    TOTAL: 1
  Case
Case    13-01660-LT13 Filed 02/21/13
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                         Exhibit 7
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                         Exhibit 8
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                                                                                                      Closed


                                  U.S. Bankruptcy Court
                         Southern District of California (San Diego)
                           Bankruptcy Petition #: 16-05104-LT13
                                                                          Date filed: 08/22/2016
Assigned to: Chief Judge Laura S. Taylor                            Date terminated: 01/11/2017
Chapter 13                                                         Debtor dismissed: 11/15/2016
                                                                       341 meeting: 09/23/2016
Voluntary
Asset


Debtor disposition: Dismissed for Other Reason

Debtor                                                      represented by Julio Werner Mayen
Julio Werner Mayen                                                         PRO SE
15335 Castle Peak Lane
Jamul, CA 91935
SAN DIEGO-CA
619-669-9904
SSN / ITIN: xxx-xx-5487
Tax ID / EIN: XX-XXXXXXX
fdba JME Enterprises

Trustee
David L. Skelton
525 B St., Suite 1430
San Diego, CA 92101-4507
619-338-4006

United States Trustee
United States Trustee
Office of the U.S. Trustee
402 West Broadway, Suite 600
San Diego, CA 92101-8511
619-557-5013


   Filing Date                 #                                        Docket Text

                             1                  Chapter 13 Voluntary Petition for Individuals,, Schedules &
                             (11 pgs; 3 docs)   Statements Fee Amount $ 310.00. Schedules A-J due
                                                9/6/2016. State. of Fin. Affairs due 9/6/2016. Summary of
                                                schedules due 9/6/2016. Chapter 13 Plan due 9/6/2016.
                                                Statement of Monthly Income and Calculation (122C-1) Due:
                                                9/6/2016. Incomplete Filings due by 9/6/2016, Filed by Julio
                                                Werner Mayen. (Elimu, M.) Additional attachment(s) added
 08/22/2016                                     on 8/22/2016 (Elimu, M.). (Entered: 08/22/2016)




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 08/22/2016                 2                 Notice of Chapter 13 Bankruptcy Case, Meeting of Creditors
                            (7 pgs; 4 docs)   & Notice of Appointment of Trustee David L. Skelton, and
                                              Notice Regarding Interpreters. 341(a) meeting to be held on
                                              09/23/2016 at 02:00 PM at 402 W. Broadway, Emerald
                                              Plaza Building, Suite 660 (B), Hearing Room B, San Diego,
                                              CA 92101 (Ch13),. Complaint to determine dischargeability
                                              of certain debts deadline: 11/22/2016. Proof of Claim due by
                                              12/22/2016. Government Proof of Claim due by 02/21/2017.
                                              (Elimu, M.) (Entered: 08/22/2016)

                            3                 Receipt of Statement About Your Social Security Number
                                              COURT NOTE: The PDF document is a secured image. filed
 08/22/2016                                   by Julio Werner Mayen . (Elimu, M.) (Entered: 08/22/2016)

                            4                 Certificate of Credit Counseling for Debtor filed by Julio
 08/22/2016                 (1 pg)            Werner Mayen . (Elimu, M.) (Entered: 08/22/2016)

                            5                 Photo identification requirement for persons filing a petition
                                              without attorney representation. ID checked, petition filed by
                                              debtor(s) COURT NOTE: The PDF document is a secured
 08/22/2016                                   image. (Elimu, M.) (Entered: 08/22/2016)

                            6                 Receipt of Chapter 13 Filing Fee - $310.00 by ME. Receipt
 08/22/2016                                   Number 229638. (Admin.) (Entered: 08/22/2016)

                            7                 Court Certificate of Mailing re Notice Debtor(s) not
                            (3 pgs)           represented by an Attorney - BNC (related documents 2 Notice
                                              of Chapter 13 Bankruptcy Case & Meeting of Creditors)
 08/22/2016                                   Notice Date 08/24/2016. (Admin.) (Entered: 08/24/2016)

                            8                 Court Certificate of Mailing re Notice of Incomplete Schedules
                            (3 pgs)           Due- BNC (related documents 1 Chapter 13 Voluntary
                                              Petition) Notice Date 08/24/2016. (Admin.) (Entered:
 08/22/2016                                   08/24/2016)

                            9                 Court Certificate of Mailing with Service by BNC. (related
                            (4 pgs)           documents 2 Notice of Chapter 13 Bankruptcy Case &
                                              Meeting of Creditors) Notice Date 08/24/2016. (Admin.)
 08/22/2016                                   (Entered: 08/24/2016)

                                              Notice of Debtor's Prior Filings for debtor Julio Werner Mayen
                                              Case Number 13-01660, Chapter 13 filed in California
                                              Southern Bankruptcy Court on 02/21/2013 , Dismissed for
 08/23/2016                                   Other Reason on 05/03/2013.(Admin) (Entered: 08/23/2016)

                            10                Debtor's Motion to Extend Time to file Schedules and/or
                            (2 pgs)           Statements; with Proof of Service and Request by Debtor for
                                              statement of Position...filed by Julio Werner Mayen (related
                                              documents 1 Chapter 13 Voluntary Petition) (Lewis, L.)
 09/06/2016                                   Modified on 9/7/2016 (Lewis, L.). (Entered: 09/07/2016)

 09/06/2016                 11
                            (2 pgs)




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                                               Proof of Service (related documents 10 Motion to Extend
                                               Time) filed by Julio Werner Mayen . (Lewis, L.) (Entered:
                                               09/07/2016)

                            12                 Notice to Debtor(s) of Errors and/or Deficiencies in Document
                                               by the Chapter 13 Trustee. The Debtors Request for Statement
                                               of Position is defective for the following reasons: (related
                                               document 10 Request by Debtor for Statement of Position of
 09/12/2016                                    Chapter 13 Trustee) (David Skelton-C) (Entered: 09/12/2016)

                            13                 Statement of Position filed by David L. Skelton on behalf of
                            (3 pgs)            David L. Skelton. (related documents 10 Motion to Extend
 09/14/2016                                    Time) (Skelton, David) (Entered: 09/14/2016)

                            14                 Balance of Schedules: Schedules A/B - J , Statement of
                            (51 pgs)           Financial Affairs, Summary of Assets and Liabilities and
                                               Statistical Information , Summary of Schedules and Statistical
                                               Summary , with Proof of Service. (related documents 1
                                               Chapter 13 Voluntary Petition) filed by Julio Werner Mayen .
 09/19/2016                                    (DeBose, D.) (Entered: 09/20/2016)

                            15                 Chapter 13 Statement of Your Current Monthly Income and
                            (3 pgs)            Calculation of Commitment Period for 3 Years . Disposable
                                               Income Is Not Determined (related documents 1 Chapter 13
                                               Voluntary Petition) filed by Julio Werner Mayen . (DeBose,
 09/19/2016                                    D.) (Entered: 09/20/2016)

                            16                 Initial Chapter 13 Plan filed by Julio Werner Mayen . (related
                            (13 pgs; 2 docs)   documents 1 Chapter 13 Voluntary Petition)(DeBose, D.)
 09/19/2016                                    (Entered: 09/20/2016)

                            17                 Court Certificate of Mailing with Service by BNC. (related
                            (13 pgs)           documents 16 Chapter 13 Plan) Notice Date 09/22/2016.
 09/20/2016                                    (Admin.) (Entered: 09/22/2016)

                            18                 Objection to Confirmation of Chapter 13 Plan and Request for
                                               Hearing. Meeting of Creditors Held and Concluded Debtor
 09/26/2016                                    appeared. (Skelton, David) (Entered: 09/26/2016)

                            19                 Objection to Confirmation of Chapter 13 Plan and Motion to
                            (4 pgs; 2 docs)    Dismiss Case. Filed by David L. Skelton on behalf of David L
                                               Skelton (Skelton, David) (related document 16 Chapter 13
 09/28/2016                                    Plan )(Entered: 09/28/2016) (Entered: 09/28/2016)

                            20                 Notice of Hearing on Objection to Confirmation of Chapter 13
                            (2 pgs; 2 docs)    Plan and Motion to Dismiss. Filed by David L. Skelton on
                                               behalf of David L. Skelton Scheduled for 11/15/2016 at
                                               10:00AM at Department 3, Room 129 Jacob Weinberger U.S.
                                               Courthouse (related document 19 Objection to Confirmation of
                                               Chapter 13 Plan and Motion to Dismiss Case ) (David L.
 09/28/2016                                    Skelton) (Entered: 09/28/2016) (Entered: 09/28/2016)

 09/28/2016




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                            21                Court Certificate of Mailing with Service by BNC. (related
                            (4 pgs)           documents 19 Objection to Confirmation of Chapter 13 Plan
                                              and Motion to Dismiss Case) Notice Date 09/30/2016.
                                              (Admin.) (Entered: 09/30/2016)

                            22                Court Certificate of Mailing with Service by BNC. (related
                            (2 pgs)           documents 20 Notice of Hearing on Objection to Confirmation
                                              of Chapter 13/12 Plan) Notice Date 09/30/2016. (Admin.)
 09/28/2016                                   (Entered: 09/30/2016)

                            23                Notice of Requirement to file Financial Management Course
 10/07/2016                 (2 pgs; 2 docs)   Certificate. (Admin) (Entered: 10/07/2016)

                            24                Court Certificate of Mailing re Notice of Requirement to File a
                            (2 pgs)           Statement of Completion of Course in Personal Financial
                                              Management- BNC (related documents 23 Notice of
                                              Requirement to file Certification of Financial Management
                                              Course) Notice Date 10/09/2016. (Admin.) (Entered:
 10/07/2016                                   10/09/2016)

                            25                Statement of Case Status (for 11/15/16) filed by David L.
                            (3 pgs; 2 docs)   Skelton on behalf of David L. Skelton. (Attachments: # 1
 11/07/2016                                   Proof of Service) (Skelton, David) (Entered: 11/07/2016)

                            26                Request by Debtor for Dismissal of Chapter 13 Bankruptcy
                            (3 pgs; 2 docs)   Case filed by Julio Werner Mayen (Attachments: # 1 Proof of
 11/10/2016                                   Service) (DeBose, D.) (Entered: 11/14/2016)

                            27                Order Regarding Request by Debtor for Dismissal of Chapter
                            (4 pgs; 4 docs)   13 Bankruptcy Case as to Debtor Julio Werner Mayen; with
                                              BNC Service. (Related Doc # 26) signed on 11/14/2016.
 11/14/2016                                   (DeBose, D.) (Entered: 11/15/2016)

                            28                Court Certificate of Mailing re Notice of Entry of Order
                            (2 pgs)           Dismissing Case and Vacating All Automatic Stays and
                                              Injunctions; with Service by BNC. Notice Date 11/17/2016.
 11/15/2016                                   (Admin.) (Entered: 11/17/2016)

                            29                Court Certificate of Mailing with Service by BNC. (related
                            (2 pgs)           documents 27 Order re: Request by Debtor for Dismissal of
                                              Chapter 13 Bankruptcy Case) Notice Date 11/17/2016.
 11/15/2016                                   (Admin.) (Entered: 11/17/2016)

                            30                Minute Order. Hearing DATE: 11/15/2016, MATTER:
                            (1 pg)            OBJECTION TO CONFIRMATION OF CHAPTER 13
                                              PLAN AND MOTION TO DISMISS CASE FILED BY
                                              TRUSTEE DISPOSITION: See Attached PDF document
                                              for details. (vCal Hearing ID (492234)). (related documents
 11/15/2016                                   19 )(Shawna Dahl) (Entered: 11/18/2016)

                            31                Chapter 13 Trustee's Final Report and Account . (Skelton,
 12/28/2016                 (2 pgs)           David) (Entered: 12/28/2016)




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 12/28/2016                 32              Court Certificate of Mailing- BNC (related documents 31
                            (3 pgs)         Chapter 13 Trustee's Final Report and Account) Notice Date
                                            12/30/2016. (Admin.) (Entered: 12/30/2016)

                            33              Court Notice Served On: 12/30/2016. Due on 01/27/2017
                                            unless an objector is entitled to additional time under FRBP
                                            9006. (related document 32 Chapter 13 Trustee's Final Report
 12/28/2016                                 and Account) (Admin) (Entered: 12/31/2016)

                            34              Order Approving Account, Discharging Chapter 13 Trustee
                                            and Closing Estate. It appearing to the Court that, the Chapter
                                            13 Trustee, has performed all duties required in the
                                            administration of this case; the Trustee has made distribution
                                            of all funds coming into his possession as required by order of
                                            this Court and has rendered a full and complete account, and
                                            the Trustee has performed all other duties required of him in
                                            the administration of this case; IT IS ORDERED the accounts
                                            of the Trustee be approved and allowed; the Trustee be
                                            discharged and relieved of his trust; the bond of the Trustee, or
                                            blanket bond be canceled and any sureties be released from
                                            further liability, except any liability which may have accrued
                                            during the time such bond was in effect; and the case is hereby
                                            closed. The debtor is relieved of any further responsibility for
                                            keeping this Court and the Trustee advised of a current mailing
                                            address. Barry K. Lander, Clerk (DeBose, D.) (Entered:
 01/11/2017                                 01/11/2017)




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                         Exhibit 9
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MSF                                          United States Bankruptcy Court                               Telephone: 619−557−5620
Rev. 12/15                                                                                           Website: www.casb.uscourts.gov
                                                  Southern District of California             Hours: 9:00am−4:00pm Monday−Friday
                                                   Jacob Weinberger U.S. Courthouse
                                                          325 West F Street
                                                      San Diego, CA 92101−6991

Julio Werner Mayen                                                             Case number: 16−05104−13
 15335 Castle Peak Lane                                                        Chapter: 13
Jamul, CA 91935                                                                Judge
xxx−xx−5487
Debtor Aliases: JME Enterprises



                                             Important Notice To (Attorney For) Debtor
                                  Notice of Missing Schedule(s), Statement(s) and/or Chapter 13 Plan


The petition for relief you have filed was missing one or more of the following papers:

Schedules A/B−J
Statement of Financial Affairs
Summary of Assets and Liabilities and Statistical Information
Chapter 13 Plan
Chapter 13 Statement of Current Monthly Income and Calculation of Commitment Period (122C−1)

Failure to file the missing papers within 14 days following the date the petition was filed (30 days for a Chapter 7
Debtor's Statement of Intention, if required), or the date a notice or an order converting was entered, will cause your
case to be dismissed pursuant to 11 U.S.C. §707(a)(3) without further notice.

Please note that Local Bankruptcy Rule (LBR) 1007−4 and 1009−1 (described below) requires you to serve a copy of
any late−filed schedules, statements, and(or) amendments on any trustee and, if a Chapter 11 case, the United States
Trustee, and any member of the official creditors committee. Local Form CSD 1099, Balance of Schedules and(or)
Chapter 13 Plan, with proof of service must accompany the originals filed with the Court. Compliance with Special
Requirements for Mailing Addresses, (Form CSD 1007), is also required.

Unless you have already done so, you must file with the Court a statement setting forth the amount of fees paid or
promised to you for services rendered in connection with the filing of this case. A Disclosure of Compensation of
Attorney for Debtor, (Form CSD 2030), may be obtained from the Court without cost. This Disclosure Statement must
be filed with the Court before the date scheduled for the Section 341(a) Meeting.


                                                                                         Barry K. Lander
 Dated: 8/22/16                                                                          Clerk of the Bankruptcy Court
    Case
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1007−4. Required Notice When Schedules Are Filed After the Petition Date.

When filing any lists, statements, or schedules after the Petition Date, the debtor must:


     a. Service. File and serve a Proof of Service of a copy of these Documents on the U.S. Trustee, any interim
        trustee or trustee, and each member of any committee appointed in the case; and


     b. Notice. Give notice of the Petition Date to any Entity or Individual newly listed in the lists, schedules, and
        statements. If applicable, this notice must be accompanied by:



              1. a copy of the "Order for and Notice of Section 341(a) Meeting";


              2. any "Discharge of Debt" or "Notice of Order Confirming Plan"; and


              3. in a chapter 13 case, a claim form and the date, time and location of any pending section 341(a)
                 meeting or confirmation hearing currently scheduled.


     c. Form of Notice. When noticing any Entity or Individual not previously named in the original mailing matrix,
        the debtor must comply with LBR 1007−1




1009−1. Amendment; Notice.

Any amendment filed shall substantially conform to Local Form CSD 1100, Amendment. Service shall be made in
the manner required by LBR 1007−4 and shall substantially conform to Local Form CSD 1101, Notice to Creditors
of the Above−Named Debtor Added by Amendment or Balance of Schedules.



Forms may be obtained at the Courthouse or from the Court's website: www.casb.uscourts.gov
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                                                 Notice Recipients
District/Off: 0974−3                    User: Admin.                      Date Created: 8/22/2016
Case: 16−05104−13                       Form ID: 184                      Total: 1


Recipients submitted to the BNC (Bankruptcy Noticing Center):
db          Julio Werner Mayen      15335 Castle Peak Lane      Jamul, CA 91935
                                                                                                    TOTAL: 1
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     3:17-cv-00050-JLS-MDD  09/19/16 18-3
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     3:17-cv-00050-JLS-MDD  09/19/16 18-3
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     3:17-cv-00050-JLS-MDD  09/19/16 18-3
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     3:17-cv-00050-JLS-MDD  09/19/16 18-3
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     3:17-cv-00050-JLS-MDD  09/19/16 18-3
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     3:17-cv-00050-JLS-MDD  09/19/16 18-3
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     3:17-cv-00050-JLS-MDD  09/19/16 18-3
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                                                                DebtEd, Repeat, ExTime, Dismissed


                                   U.S. Bankruptcy Court
                          Southern District of California (San Diego)
                            Bankruptcy Petition #: 16-07181-LT13
                                                                                Date filed: 11/28/2016
Assigned to: Chief Judge Laura S. Taylor                                Debtor dismissed: 03/07/2017
Chapter 13                                                                   341 meeting: 01/06/2017
                                                              Deadline for filing claims: 04/06/2017
Voluntary                                               Deadline for filing claims (govt.): 05/30/2017
Asset


Debtor disposition: Dismissed for Other Reason

Debtor                                           represented by Julio Werner Mayen
Julio Werner Mayen                                              PRO SE
15335 Castle Peak Lane
Jamul, CA 91935
SAN DIEGO-CA
619-669-9904
SSN / ITIN: xxx-xx-5487
dba JME Enterprises

Trustee                                          represented by Thomas H. Billingslea
Thomas H. Billingslea                                           401 West A Street, Suite 1680
401 West A Street, Suite 1680                                   San Diego, CA 92101
San Diego, CA 92101                                             (619) 233-7525
(619) 233-7525                                                  Email: Billingslea@thb.coxatwork.com

                                                               Kathleen A. Cashman-Kramer
                                                               Thomas Billinsglea, Chapter 13
                                                               Trustee
                                                               401 West A Street
                                                               Suite 1680
                                                               San Diego, CA 92101
                                                               619-233-7525
                                                               Fax : 619-233-7267
                                                               Email: billingslea@thb.coxatwork.com

United States Trustee
United States Trustee
Office of the U.S. Trustee
402 West Broadway, Suite 600
San Diego, CA 92101-8511
619-557-5013




https://ecf.casb.uscourts.gov/cgi-bin/DktRpt.pl?370998771895639-L_1_0-1                          3/15/2017
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    Filing Date                 #                                      Docket Text

                            1                 Chapter 13 Voluntary Petition for Individuals,, Schedules &
                            (9 pgs)           Statements Fee Amount $ 310.00. Filed by Julio Werner
                                              Mayen. (Lewis, L.) Additional attachment(s) added on
  11/28/2016                                  11/28/2016 (Lewis, L.). (Entered: 11/28/2016)

                            2                 Notice of Chapter 13 Bankruptcy Case, Meeting of Creditors
                            (7 pgs; 4 docs)   & Notice of Appointment of Trustee Thomas H. Billingslea,
                                              and Notice Regarding Interpreters. 341(a) meeting to be held
                                              on 01/06/2017 at 04:00 PM at 402 W. Broadway, Emerald
                                              Plaza Building, Suite 660 (B), Hearing Room B, San Diego,
                                              CA 92101 (Ch13),. Complaint to determine dischargeability
                                              of certain debts deadline: 03/07/2017. Proof of Claim due by
                                              04/06/2017. Government Proof of Claim due by 05/30/2017.
  11/28/2016                                  (Lewis, L.) (Entered: 11/28/2016)

                            3                 Notice of Missing Schedules and Statements, Chapter 13 Plan,
                            (6 pgs; 4 docs)   Statement of Current Monthly Income, Schedules Due by
                                              12/12/2016, Chapter 13 Plan due 12/12/2016. Statement of
                                              Monthly Income and Calculation (122C-1) Due: 12/12/2016.
                                              (related documents 1 Chapter 13 Voluntary Petition) (Lewis,
  11/28/2016                                  L.) (Entered: 11/28/2016)

                            4                 Certificate of Credit Counseling for Debtor filed by Julio
  11/28/2016                (1 pg)            Werner Mayen . (Lewis, L.) (Entered: 11/28/2016)

                            5                 Receipt of Statement About Your Social Security Number
                                              COURT NOTE: The PDF document is a secured image.
                                              (related documents 1 Chapter 13 Voluntary Petition) filed by
  11/28/2016                                  Julio Werner Mayen . (Lewis, L.) (Entered: 11/28/2016)

                            6                 Photo identification requirement for persons filing a petition
                                              without attorney representation. ID checked, petition filed by
                                              debtor(s) COURT NOTE: The PDF document is a secured
                                              image. (related documents 1 Chapter 13 Voluntary Petition)
  11/28/2016                                  (Lewis, L.) (Entered: 11/28/2016)

                            7                 Receipt of Chapter 13 Filing Fee - $310.00 by LL. Receipt
  11/28/2016                                  Number 230154. (Admin.) (Entered: 11/28/2016)

                            8                 Court Certificate of Mailing re Notice Debtor(s) not
                            (3 pgs)           represented by an Attorney - BNC (related documents 2 Notice
                                              of Chapter 13 Bankruptcy Case & Meeting of Creditors)
  11/28/2016                                  Notice Date 11/30/2016. (Admin.) (Entered: 11/30/2016)

                            9                 Court Certificate of Mailing re Notice of Incomplete Schedules
                            (3 pgs)           Due- BNC (related documents 3 Notice of Missing Schedules,
                                              Statement(s) and/or Plan) Notice Date 11/30/2016. (Admin.)
  11/28/2016                                  (Entered: 11/30/2016)

  11/28/2016                10                Court Certificate of Mailing with Service by BNC. (related
                            (4 pgs)           documents 2 Notice of Chapter 13 Bankruptcy Case &




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                                              Meeting of Creditors) Notice Date 11/30/2016. (Admin.)
                                              (Entered: 11/30/2016)

                                              Notice of Debtor's Prior Filings for debtor Julio Werner Mayen
                                              Case Number 13-01660, Chapter 13 filed in California
                                              Southern Bankruptcy Court on 02/21/2013 , Dismissed for
                                              Other Reason on 05/03/2013; Case Number 16-05104, Chapter
                                              13 filed in California Southern Bankruptcy Court on
                                              08/22/2016 , Dismissed for Other Reason on 11/15/2016.
  11/29/2016                                  (Admin) (Entered: 11/29/2016)

                            11                Motion for Extension of Time to File Remaining Documents
                            (2 pgs)           filed by Julio Werner Mayen (Paluso, R.) (Entered:
  12/09/2016                                  12/12/2016)

                            12                Request by Debtor for Statement of Position of Chapter 13
                            (1 pg)            Trustee (related documents 11 Motion to Extend Time) filed
  12/09/2016                                  by Julio Werner Mayen . (Paluso, R.) (Entered: 12/12/2016)

                            13                Proof of Service (related documents 11 Motion to Extend
                            (2 pgs)           Time, 12 Generic Document) filed by Julio Werner Mayen .
  12/09/2016                                  (Paluso, R.) (Entered: 12/12/2016)

                            14                Statement by Chapter 13 Trustee and certificate of service
                            (2 pgs)           filed by Kathleen A. Cashman-Kramer on behalf of Thomas H.
                                              Billingslea. (related documents 11 Motion to Extend Time)
  12/13/2016                                  (Cashman-Kramer, Kathleen) (Entered: 12/13/2016)

                            15                Order Regarding Motion for Extension of Time to File
                            (3 pgs; 2 docs)   Remaining Documents; with Service by BNC (Related Doc #
                                              11) signed on 12/15/2016. Incomplete Filings due by 1/3/2017,
  12/15/2016                                  (Crosby, A.C.) (Entered: 12/16/2016)

                            16                Court Certificate of Mailing with Service by BNC. (related
                            (3 pgs)           documents 15 Order re: Motion to Extend Time) Notice Date
  12/16/2016                                  12/18/2016. (Admin.) (Entered: 12/18/2016)

                            17                Debtor's Declaration Under Penalty of Perjury For Not
                            (1 pg)            Needing to File Personal Tax Returns Due to Low Income
                                              filed by Julio Werner Mayen. (related documents 2 Notice of
                                              Chapter 13 Bankruptcy Case & Meeting of Creditors) (Paluso,
  01/03/2017                                  R.) Modified on 1/4/2017 (Paluso, R.). (Entered: 01/04/2017)

                            18                Balance of Schedules: Schedules A/B - J , Statement of
                            (51 pgs)          Financial Affairs, Summary of Assets and Liabilities and
                                              Statistical Information , Statement of Current Monthly Income,
                                              Chapter 13 Plan, with Proof of Service (related documents 3
                                              Notice of Missing Schedules, Statement(s) and/or Plan, 15
                                              Order re: Motion to Extend Time) filed by Julio Werner
  01/03/2017                                  Mayen . (Paluso, R.) (Entered: 01/04/2017)

  01/03/2017                19                Chapter 13 Statement of Your Current Monthly Income and
                            (3 pgs)           Calculation of Commitment Period for 3 Years . Disposable




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                                               Income Is Not Determined filed by Julio Werner Mayen .
                                               (Paluso, R.) (Entered: 01/04/2017)

                            20                 Initial Chapter 13 Plan filed by Julio Werner Mayen . (related
                            (13 pgs; 2 docs)   documents 3 Notice of Missing Schedules, Statement(s) and/or
  01/03/2017                                   Plan)(Paluso, R.) (Entered: 01/04/2017)

                            21                 Court Certificate of Mailing with Service by BNC. (related
                            (13 pgs)           documents 20 Chapter 13 Plan) Notice Date 01/06/2017.
  01/04/2017                                   (Admin.) (Entered: 01/06/2017)

                            22                 Objection to Confirmation of Chapter 13 Plan and Request for
                                               Hearing. Meeting of Creditors Held and Concluded
  01/09/2017                                   (Billingslea 4, Thomas) (Entered: 01/09/2017)

                            23                 Objection to Confirmation of Chapter 13 Plan and Motion to
                            (3 pgs)            Dismiss Bankruptcy Case with 180-Day Bar from Re-filing
                                               Chapter 13. filed by Thomas H. Billingslea on behalf of
                                               Thomas H. Billingslea. (related documents 20 Chapter 13
  01/11/2017                                   Plan) (Billingslea, Thomas) (Entered: 01/11/2017)

                            24                 Notice of Hearing on Objection to Confirmation of Chapter 13
                            (2 pgs)            Plan and Motion to Dismiss Bankruptcy Case with 180-Day
                                               Bar from Re-filing Chapter 13 and Certificate of Service. filed
                                               by Thomas H. Billingslea on behalf of Thomas H. Billingslea.
                                               HEARING Scheduled for 2/21/2017 at 02:00 PM at
                                               Courtroom 3, Room 129, Weinberger Courthouse . (related
                                               documents 23 Objection to Confirmation of Chapter 13 Plan
                                               and Motion to Dismiss Case) (Billingslea, Thomas) (Entered:
  01/11/2017                                   01/11/2017)

                            25                 Notice of Requirement to file Financial Management Course
  01/13/2017                (2 pgs; 2 docs)    Certificate. (Admin) (Entered: 01/13/2017)

                            26                 Court Certificate of Mailing re Notice of Requirement to File a
                            (2 pgs)            Statement of Completion of Course in Personal Financial
                                               Management- BNC (related documents 25 Notice of
                                               Requirement to file Certification of Financial Management
                                               Course) Notice Date 01/15/2017. (Admin.) (Entered:
  01/13/2017                                   01/15/2017)

                            27                 Notice of Change in DATE Fixed for Hearing HEARING
                            (2 pgs; 2 docs)    Scheduled for 3/7/2017 at 02:00 PM at Courtroom 3, Room
                                               129, Weinberger Courthouse . . .. (related documents 23
                                               Objection to Confirmation of Chapter 13 Plan and Motion to
                                               Dismiss Case, 24 Notice of Hearing on Objection to
                                               Confirmation of Chapter 13 Plan and Motion to Dismiss Case)
  02/06/2017                                   (Dahl, S.) (Entered: 02/06/2017)

                            28                 Court Certificate of Mailing with Service by BNC. (related
                            (2 pgs)            documents 27 Notice of Change in Date Fixed for
                                               Trial/Hearing) Notice Date 02/08/2017. (Admin.) (Entered:
  02/06/2017                                   02/08/2017)




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  02/27/2017                   29                    Statement /Status Report by Chapter 13 Trustee and certificate
                               (3 pgs)               of service filed by Kathleen A. Cashman-Kramer on behalf of
                                                     Thomas H. Billingslea. (related documents 23 Objection to
                                                     Confirmation of Chapter 13 Plan and Motion to Dismiss Case)
                                                     (Cashman-Kramer, Kathleen) (Entered: 02/27/2017)

                               30                    Request by Debtor for Dismissal of Chapter 13 Bankruptcy
                               (1 pg)                Case filed by Julio Werner Mayen (Paluso, R.) (Entered:
  03/03/2017                                         03/06/2017)

                               31                    Order Regarding Request by Debtor for Dismissal of Chapter
                               (6 pgs; 4 docs)       13 Bankruptcy Case as to Debtor Julio Werner Mayen; with
                                                     BNC Service (Related Doc # 30) signed on 3/6/2017. (Paluso,
  03/06/2017                                         R.) (Entered: 03/07/2017)

                               32                    Minute Order. Hearing DATE: 03/07/2017, MATTER:
                               (1 pg)                OBJECTION TO CONFIRMATION OF CHAPTER 13
                                                     PLAN AND MOTION TO DISMISS CASE WITH 180-DAY
                                                     BAR FROM RE-FILING CHAPTER 13 FILED BY
                                                     TRUSTEE (fr 2/21/17) DISPOSITION: See Attached PDF
                                                     document for details. (vCal Hearing ID (512525)). (related
  03/07/2017                                         documents 23 )(Shawna Dahl) (Entered: 03/08/2017)

                               33                    Court Certificate of Mailing re Notice of Entry of Order
                               (2 pgs)               Dismissing Case and Vacating All Automatic Stays and
                                                     Injunctions; with Service by BNC. Notice Date 03/09/2017.
  03/07/2017                                         (Admin.) (Entered: 03/09/2017)

                               34                    Court Certificate of Mailing with Service by BNC. (related
                               (4 pgs)               documents 31 Order re: Request by Debtor for Dismissal of
                                                     Chapter 13 Bankruptcy Case) Notice Date 03/09/2017.
  03/07/2017                                         (Admin.) (Entered: 03/09/2017)




                                         PACER Service Center
                                            Transaction Receipt
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                    PACER                          Client
                                   Akerman123                 67261-322517
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                                                             16-07181-LT13 Fil or Ent: filed
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CaseCase 16-07181-LT13 FiledDocument
     3:17-cv-00050-JLS-MDD   11/28/16 18-3
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     3:17-cv-00050-JLS-MDD   11/28/16 18-3
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CaseCase 16-07181-LT13 FiledDocument
     3:17-cv-00050-JLS-MDD   11/28/16 18-3
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     3:17-cv-00050-JLS-MDD           Entered
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     3:17-cv-00050-JLS-MDD  01/03/17 18-3
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                        Exhibit 14
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NDT                               United States Bankruptcy Court                                Telephone: 619−557−5620
Rev. 02/09                                                                                 Website: www.casb.uscourts.gov
                                     Southern District of California                Hours: 9:00am−4:00pm Monday−Friday
                                     Jacob Weinberger U.S. Courthouse
                                            325 West F Street
                                        San Diego, CA 92101−6991


                                                                         Case number: 16−07181−LT13
                                                                         Chapter: 13
Julio Werner Mayen                                                       Judge Laura S. Taylor
 15335 Castle Peak Lane
Jamul, CA 91935
xxx−xx−5487                                                              Notice of Entry of Order Dismissing Case
Debtor Aliases: JME Enterprises                                          and Vacating All Automatic Stays and
                                                                         Injunctions



To the Creditors of the above−named Debtor(s) and Other Parties in interest:



Notice is hereby given that the Chapter 13 case for the above−named Debtor Only (Julio Werner Mayen) has been
dismissed and all existing automatic stays related to this case are of no further force or effect.




                                             By order of the court:                        **********
 Dated: 3/7/17                               Barry K. Lander                                  FILED
                                             Clerk of the Bankruptcy Court                    3/7/17
                                                                                           **********
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                                              United States Bankruptcy Court
                                             Southern District of California
In re:                                                                                                     Case No. 16-07181-LT
Julio Werner Mayen                                                                                         Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0974-3                  User: Admin.                       Page 1 of 1                          Date Rcvd: Mar 07, 2017
                                      Form ID: ndt                       Total Noticed: 9


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Mar 09, 2017.
db             +Julio Werner Mayen,    15335 Castle Peak Lane,   Jamul, CA 91935-2238
14211656       +Countrywide Home Loans, Inc.,    Acct No: 87682584,   150 N College Street; NC1-028-17-06,
                 Charlotte, NC 28255-0001
14211658       +Law Office of Les Zieve,    TS No: 15-38959,    30 Corporate Park, Suite 450,
                 Irvine, CA 92606-3401
14211657       +Shellpoint Mortgage Servicing,    Ref No: 0515393708,   55 Beattie Place, Suite #110,
                 Greenville, SC 29601-5115
14211659       +The Bank of New York Mellon,    101 Barclay Street 4W,    New York, NY 10286-0001

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
smg             E-mail/Text: robertsl2@dnb.com Mar 08 2017 01:23:30     Dun & Bradstreet,
                 Attn: Lynne Roberts, 2nd Floor,   3501 Corporate Parkway,    PO Box 520,
                 Center Valley, PA 18034-0520
smg             EDI: CALTAX.COM Mar 08 2017 01:18:00     Franchise Tax Board,    Attn: Bankruptcy,
                 P.O. Box 2952,   Sacramento, CA 95812-2952
14211654        E-mail/Text: bankruptcy@commercebank.com Mar 08 2017 01:23:28      Commerce Bank,
                 Acct No: 33900100977750001,   P.O. Box 411647,   Kansas City, MO 64141-1647
14246347        EDI: CALTAX.COM Mar 08 2017 01:18:00     FRANCHISE TAX BOARD,    BANKRUPTCY SECTION MS A340,
                 PO BOX 2952,   SACRAMENTO CA 95812-2952
                                                                                             TOTAL: 4

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
14211655        ##Countrywide Home Loans, Inc.,   Acct No: 87682584,   4500 Park Granada,
                   Calabasas, CA 91302-1613
                                                                                                                    TOTALS: 0, * 0, ## 1

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’##’ were identified by the USPS National Change of Address system as undeliverable.                             Notices
will no longer be delivered by the USPS to these addresses; therefore, they have been bypassed. The
debtor’s attorney or pro se debtor was advised that the specified notice was undeliverable.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Mar 09, 2017                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on March 7, 2017 at the address(es) listed below:
              Kathleen A. Cashman-Kramer   on behalf of Trustee Thomas H. Billingslea
               billingslea@thb.coxatwork.com, kathylaw@san.rr.com
              Thomas H. Billingslea   Billingslea@thb.coxatwork.com
              Thomas H. Billingslea   on behalf of Trustee Thomas H. Billingslea Billingslea@thb.coxatwork.com
              United States Trustee   ustp.region15@usdoj.gov
                                                                                            TOTAL: 4
